       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 1 of 11




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY LITIGATION MDL No. 2323

 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                          Plaintiffs,
             v.
 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,
                                        Defendants.

 THIS DOCUMENT RELATES TO:

 Howard and Associates, P.A.
    v.
 SPID 100014059 (J.S.)
 Attorney Lien Dispute No. 01596



                  SUPPLEMENTAL REPORT AND RECOMMENDATION

DAVID R. STRAWBRIDGE
UNITED STATES MAGISTRATE JUDGE                                           December 23, 2021

       Presently before the Court for a Report and Recommendation in the National Football

League Player’s Concussion Injury Litigation is the assertion of an Attorney Lien by Howard and

Associates, P.A. (“Howard”) against the Award granted to its former client, Settlement Class

Member (“SCM”) SPID No. 100014059 (J.S.) (“Player”), in the litigation that became part of this

class action, In re: National Football League Players’ Concussion Injury Litigation, No. 12-md-

2323 (E.D. Pa.). Howard began representing Player on December 6, 2016 when they entered into

a contingency fee agreement (“CFA”). With the consent of Player, Howard brought in another
       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 2 of 11




firm, Shenaq PC (“Shenaq”), in the spring of 2018 as “associated counsel.” 1 On September 20,

2019, Player discharged Howard and instead entered into a CFA with Shenaq alone. Player was

ultimately issued a Monetary Award, from which Howard seeks reimbursement of costs it

allegedly incurred plus a fee equal to 20% of the Monetary Award pursuant to its CFA with Player.

(Lien Doc. 2.) On behalf of Player, Shenaq opposed Howard’s lien. It sought its own counsel fee

in the amount of 20% of Player’s Monetary Award pursuant to its 2019 CFA with Player.

       The Settlement Claims Administrator transmitted the Dispute Record to us on March 12,

2020. We considered the parties’ submissions and held a hearing on July 7, 2020 at which we

heard sworn testimony from Player and his wife, as well as argument from counsel about their fee

arrangements and efforts made on Player’s behalf. On September 28, 2020, we issued a Report

and Recommendation that Howard be awarded a portion of the fee it sought. 2              We also

recommended that Howard be awarded certain of its costs, in accordance with the funds set aside

from the Monetary Award by the Claims Administrator for this purpose. Before Judge Brody

rendered a final decision, however, the Court learned of a November 25, 2020 report from the

Claims Administrator (updated on December 10, 2020) that an audit it conducted revealed

evidence that Howard presented to the Court inflated costs for reimbursement in a lien dispute.3


1
   We are using the names of the law firms as the defined terms “Howard” and “Shenaq.” Player
had contact at each firm with the named partner, Timothy Howard and Amir Shenaq. Those
attorneys also participated in the evidentiary hearing that we convened. When we mean to refer
to the individual attorney, as opposed to the firm entity, we identify them as “Attorney Howard”
and “Attorney Shenaq.”
2
  That Report provides more historical information as to Player’s claim and the efforts of counsel
in his case. We do not recount that information in full here.
3
  The Court has been provided a copy of the full Audit Report. A redacted version of the report
and the subsequent “Special Masters’ Rule 27 Decision on the Report of Adverse Finding
Regarding Howard & Associates, P.A., and Related Parties” of June 22, 2021 is available at:


                                                2
       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 3 of 11




On February 22, 2021, Judge Brody remanded the Report and Recommendation in this case “for

reconsideration in light of the Claims Administrator’s findings” in that Audit Report and the

subsequent Special Masters’ Decision that made findings adverse to the interest of Howard. (Doc.

11290.)

       We begin by looking at the costs asserted by Howard here, as the submission of apparently

“inflated costs” was cited by Judge Brody as motivating her decision to remand the matter back to

us “for reconsideration.” We also reconsider the allocation of the attorney’s fees in this matter in

light of the Audit findings concerning Howard’s stewardship in this case.

       Representations as to costs in the docketed lien

       Howard filed its lien on the MDL docket on December 12, 2019 seeking 20% of Player’s

Monetary Award plus attorney’s costs in the amount of $16,750. Its supporting petition stated that

Howard had:

               … paid costs relating to neuropsychological, Clinical Dementia
               Rating, neurological, MRI, follow up testing, travel, meals, local
               transportation, bi-weekly consultation and client updates, MAF and
               BAP, third-party sworn affidavits, retaining experts, and more.

(Lien Doc. 2, Pet. at ¶ 5.) The lien petition materials did not itemize the expenses for which it

sought recovery.

       Representations as to costs in the lien dispute submissions

       The Claims Administrator served the Schedule of Document Submissions on January 21,

2020 calling for Statements of Dispute to be filed concerning Howard’s lien, given that Shenaq,



phttps://www.nflconcussionsettlement.com/Docs/howard_associates_sm.pdf .
We note that Attorney Howard was given opportunity to be heard in the audit process. He filed
multiple motions on the docket in April 2021 seeking to discipline, disqualify, and/or dismiss the
auditors and the Special Masters appointed by the Court relating to the investigation into his
practices vis-à-vis the Settlement Program.

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         Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 4 of 11




as current counsel, also sought a contingent fee of 20% of the Monetary Award. On behalf of

Player, Shenaq filed its Statement of Dispute on February 20, 2020. (Lien Doc. 7.) Howard did

not comply with this directive. Howard did, however, file a response to Player’s submission on

March 11, 2020. (Lien Doc. 10.)

         Summary of initial analysis regarding costs

         In our previous Report and Recommendation concerning this lien dispute, we noted that,

by its lien petition filed on the docket, Howard sought recovery of costs in the amount of $16,750.

There was no dispute that the CFA between Howard and Player provided for reimbursement from

Player’s award of costs that were “reasonably advanced” on his behalf. In the Statement of Dispute

submitted by Shenaq, Player argued that no costs incurred by Howard had been reasonable and

appropriate under the circumstances, “given that Howard engaged an inappropriate medical

expert” and that “[t]he remainder of Howard’s costs only created problems for [Player.]” (Lien

Doc. 7 at 8.)

        Following the evidentiary hearing, and pursuant to our direction that the Parties clarify the

expenditures for which Howard sought reimbursement, 4 counsel jointly presented an accounting

of all expenditures. The list included costs for examinations as well as travel that had been

arranged by Shenaq in May 2018 and March 2019 during the period in which it served as

associated counsel with Howard. These costs totaled $10,664.56, and it was undisputed that,

although Shenaq initially incurred the costs, Howard had reimbursed Shenaq as part of its co-




4
    Shenaq did not seek recovery for any costs.


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       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 5 of 11




counsel arrangement. The itemization also, however, catalogued the following costs incurred by

Howard prior to Shenaq’s association with the case: 5

               1/4/2017         $900.00          [Provider 3] CDR

               3/16/2017        $1,125.00        MRI [redacted provider]

               3/16/2017        $7,000.00        [Provider 1]

               9/20/2017        $4,000.00        [Provider 8]

               9/20/2017        $4,000.00        [Providers 6 & 7]

               -------------------------------
               Total:            $17,025.00

(Post-Hr’g Ex.)

       We noted in our original R&R that Player had raised concerns about the propriety of the

early evaluations ordered by Howard, particularly as Shenaq argued that it was Player’s encounters

with some of those providers that attracted the attention of the Claims Administrator’s audit team

during the pendency of his claim. We were reluctant on the record before us, however, to deem

any particular expense as not “reasonably” incurred at the time. For example, Attorney Howard

represented to us at the hearing that Providers 1 and 8 were “MAF approved and certified” at the

time of the evaluations. (N.T. 7/7/2020 at 7, 100.) We stated that the costs appeared facially valid,

and that “unless and until an audit process or other special investigation deems … otherwise,” we

could not say that they were unreasonably obtained such that Howard should be precluded from

reimbursement. (R&R at 23.) We thus recommended that the entirety of the $16,750 withheld by




5
 We are redacting the names of the providers and refer to them by their characterization in the
Audit Report and Special Masters decision.


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       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 6 of 11




the Claims Administrator for Howard’s costs – based on the figure identified by Howard in its

2019 lien – be released to Howard. 6

       Revised analysis of costs reimbursable to Howard

       The Audit Report has changed our view of this matter. It follows upon what appears to be

a thorough investigation of Howard’s contacts with these providers and the influence Attorney

Howard exerted on these providers. The Audit Report also raises serious questions as to how

certain evaluations and tests were priced, or over-priced, with Howard’s knowledge and

participation. 7 While the Audit did not turn up evidence of what Howard actually paid to Providers

6, 7 or 8 for their contribution to the representation of his player clients, the Audit Report did find

evidence of inflation of the cost of a “CDR.” 8 The Audit Report’s findings implicate providers




6
   The sum of the expenses incurred by Shenaq (on behalf of Howard) for the 2018 and 2019
evaluations, coupled with the costs allegedly incurred by Howard alone in 2017, exceeded the sum
of funds withheld by the Claims Administrator from Player’s award for reimbursement of costs.
In our earlier Report, we recognized that the $16,750 sum that we would have approved for costs
would not fully reimburse Howard for the total costs of $27,689.56 that it ultimately alleged it
incurred. We were unwilling, however, to consider approving any sum beyond the value that was
set forth in the lien and thus had been set aside from Player’s Monetary Award for this purpose.
7
    The Audit Report suspected that in one case in which Howard sought costs as part of an
attorney’s lien, it listed the cost of a neurology evaluation at $7,000 but only paid that provider
$3,500. The Audit Report also described “a picture of a complex process for cost billing that
Howard has set up” using a case support services company for funding. The principal of that
business, for example, advised Howard’s then-preferred neurologist in one case to bill the funding
company a discounted rate of $500 or $525 for an MRI (which was the facility’s discounted cost,
according to the neurologist) but that the funding company would then bill Howard $1,000 for that
MRI. The cost of $1,000 would then be passed on to the client, leaving the funder and/or Howard
to the difference. In a lien dispute involving a different client than the one referenced in the billing
communications described above, Howard represented that an MRI from that same facility cost
$1,125, which would be a mark-up of more than 100%.
8
  Howard described the cost of the CDR in this case, incurred on January 4, 2017, as $900. The
nurse who purportedly administered this assessment, however, told the Audit team that she was
paid $500 per CDR evaluation. (Audit Report at 40.)

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       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 7 of 11




for whom Howard seeks reimbursement in this lien dispute, specifically as to the nurse who

performed the CDR evaluation (Provider 3), the MRI facility, and Provider 1.

       With this record, we cannot recommend that Howard be reimbursed for any of the costs

dating to 2017 that the firm detailed in its Lien Response. (Lien Doc. 10.) The Audit Report did

not, however, undermine the legitimacy of the expenses incurred in this case by Shenaq as

Howard’s associated counsel beginning in 2018. It is undisputed that while Shenaq made the

arrangements for those evaluations, the funds were advanced by Howard.               Therefore, we

recommend that the Claims Administrator be directed to release to Howard $10,664.56 for the

costs advanced in May 2018 and March 2019 for evaluation by providers who have not been

tainted with any suspected illegitimacy.

       The propriety of a fee to Howard

       The Audit Report also identified actions by Howard personnel that revealed, as the Special

Masters concluded, “that the owner and employees of Howard & Associates manipulated the

medical examination process and medical records with the intent to affect whether Settlement

Class Members qualified for Monetary Awards.” (SM Decision at 5.) The Special Masters also

found that Howard “engaged in a process of perpetuating misinformation to secure a physician’s

qualification as a MAF Physician and BAP Provider,” which also materially and adversely

impacted the Settlement Program.” (Id. at 7.) The Special Masters directed that Howard be

permanently disqualified from participating in the Settlement Program. (Id. at 7-8.)

       Based upon the information uncovered in the Audit and outlined in the Special Masters

decision, we amend our prior Recommendation and allocate a much smaller fee to Howard in this

matter. In our prior Report, we recommended that the funds withheld for counsel fee be allocated

such that the two firms share a total fee of 20% of Player’s award and that it be distributed between


                                                 7
       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 8 of 11




Howard and Shenaq on an 88%-12% basis. That recommendation was based on our recognition

that Player benefitted from Howard’s engagement of Shenaq to assist in the development of the

claim that was submitted in June 2018 and the new claim submitted in March 2019 based upon a

new diagnosis. In addition, Howard advanced the funds for these the expert fees and for the travel

expenses that Player incurred. We also recognized that Shenaq only began its sole representation

of Player – as opposed to the associated counsel arrangement with Howard, for which it would be

reimbursed by Howard for expenditures – on September 20, 2019. At that point in time, Shenaq

was not called upon to advance any funds to Player for any further medical evaluations or claims

submissions. Rather, the pending claim was approved just five weeks after the change in

representation. Shenaq’s work thereafter involved shepherding Player through the claim payment

process and then through this lien dispute process.

       The Audit Report has shed new light on the value (or lack thereof) of Howard’s initial

“efforts” on Player’s behalf and whether there was any benefit – or even a detriment – by having

exposed Player to the evaluations that have provided only trouble to Player. Therefore, in light of

this new information, and in recognition of Shenaq’s continued work on behalf of Player in this

lien dispute, we will recommend a larger share of the contingent fee be authorized for Shenaq. We

recommend that the Howard entity and Shenaq share equally in the contingent fee award. 9


9
   We are cognizant of the fact that Shenaq may have been due a portion of any fee received by
Howard pursuant to the terms of their co-counsel agreement. This distribution does not impede
any right Shenaq may have to pursue its share from the Howard entity or its trustee. While we
appreciate that such efforts may present challenges, we cannot accept Shenaq’s argument that it
should receive a full 20% fee in this case. Shenaq conducted its work knowing it was operating
under a CFA that might yield no recovery and thus no fee for counsel, yet Shenaq did not have to
take upon itself the additional risk and burden of advancing costs on behalf of Player as did
Howard. That is not insignificant. Shenaq absolutely benefitted from the funding provided by
Howard. We find this circumstance warrants a fee allocation to Shenaq that reflects the reduction
in risk borne by Shenaq.


                                                8
       Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 9 of 11




       Howard funds to escrow

       On July 13, 2021, Howard filed on the MDL docket a Notice of Assignment for the Benefit

of Creditors. (Doc. 11435.) The notice advises that on June 30, 2021, Howard filed a petition in

the Circuit Court of the Second Judicial Circuit in and for Leon County, Florida that commenced

what are described as “Assignment for the Benefit of Creditors proceedings pursuant to Chapter

727, Florida Statutes[.]” (Id.) The petition designated Larry Hyman as the assignee. Mr. Hyman

then filed in Leon County a “Motion for Order Authorizing the Transition and Assignment of the

Assignment Estate’s Interests in the NFL Concussion Litigation to Goldberg Persky White, P.C.”

(Id.) It is our understanding that following a hearing held on October 7, 2021, the Leon County

Assignment Court granted the motion and approved the transition of Howard’s NFL Concussion

Litigation cases to Goldberg Persky White. Pending further guidance, we recommend that the

Claims Administrator be directed to hold in a separate escrow account any funds that are ordered

by the Court to be payable to Howard for fees or costs in this, and any other, lien dispute.

       Conclusion

       We recommend the approval of a 10% total attorney fee to Shenaq and a 10% total fee to

Howard. Howard should be permitted reimbursement of $10,664.56 in costs for the untainted and

legitimate evaluations undertaken in 2018 and 2019 used to support the claims submitted by

Shenaq, the second of which was approved. The remainder of funds withheld for attorney fees

should be refunded to Player, as should the remainder of funds withheld for costs beyond the sum

noted above. The 5% holdback should be borne by Shenaq, Howard, and Player in the proportion

to which they are allocated the portion of the award that is currently available for distribution. Our

recommendation follows.




                                                  9
      Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 10 of 11




                                    RECOMMENDATION

       AND NOW, this 23rd day of December, 2021, it is respectfully RECOMMENDED that

the Claims Administrator be ordered to designate the funds withheld for attorney’s fee and costs

as follows:

                      1.      Shenaq may receive 10% of Player’s Monetary Award as attorney’s

                      fees;

                      2.      A 10% portion of Player’s Monetary Award is designated as

                      attorney’s fees for Howard’s work and shall be placed in escrow;

                      3.      Player may receive a refund representing funds withheld for

                      attorney’s fees but not approved for Shenaq and Howard;

                      4.      The 5% holdback funds shall be attributed to Shenaq, Howard and

                      Player in accordance with the allocations indicated above and released in

                      accordance with future orders of the Court;

                      5.      The sum of $10,664.56 withheld from Player’s award for

                      reimbursement of costs is approved for Howard and shall be placed in

                      escrow; and

                      6.      Player may receive a refund representing funds withheld for costs

                      but not approved for Howard.




                                              10
      Case 2:12-md-02323-AB Document 11565 Filed 12/23/21 Page 11 of 11




The Parties may file objections to this Report and Recommendation. See Rule 25(d).

                                                  BY THE COURT:



                                                  /s/ David R. Strawbridge, USMJ
                                                  DAVID R. STRAWBRIDGE
                                                  UNITED STATES MAGISTRATE JUDGE




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